       Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 1 of 6



                                                                                             Reset Form
                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

______________________________________
Samuel C. Pennella, M.D.                        )
                                                )
______________________________________ )
                                                )
______________________________________ )
(Enter above the full name of the Plaintiff(s)  )
                                                )
vs.                                             )      Case Number__________________
                                                )
______________________________________
Acumen Assessments                              )
Name                                            )
______________________________________
730 New Hampshire Suite, 222                    )
Street and number                               )
______________________________________ )
Lawrence                KS              66044
City                   State            ZipCode )

(Enter above the full name and address of the
Defendant in this action - list the name and
address of any additional defendants on the back
side of this sheet).
                                      CIVIL COMPLAINT

I.     Parties to this civil action:

       (In item A below, place your name in the first blank and place your present address in the
       second blank. Do the same for additional plaintiffs, if any, on the back side of this sheet).

       A.                        Samuel C. Pennella, M.D.
               Name of plaintiff___________________________________________________

               Address___________________________________________________________
                      615 Grove St.

               __________________________________________________________________
               Clifton, NJ 07013

               United States of America
               __________________________________________________________________




                                                 1
      Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 2 of 6




      (In item B below, write the full name of the defendant in the first blank. In the second
      blank, write the official position of the defendant. Use item C for the names and positions
      of any additional defendants).

      B.              John Whipple, M.D.
             Defendant________________________________________________________is

                         Acumen Assessments
             employed at _______________________________________________________

             __________________________________________________________________

      C.                          Scott Stacy PsyD
             Additional Defendants_______________________________________________
                                Jim Wieberg LPC
             __________________________________________________________________

             __________________________________________________________________


II.   Jurisdiction:

      (Complete one or more of the following subparagraphs, A., B.1, B.2., or B.3., whichever is
      applicable.)

      A. (If Applicable) Diversity of citizenship and amount:
             1.       Plaintiff is a citizen of the State of ___________________.
                                                               New Hampshire
             2.       The first-named defendant above is either
                                                                 Kansas
                             a. a citizen of the State of ____________________; or
                             b. a corporation incorporated under the laws of the State of
                                        Kansas
                                  __________________ and having its principal place of business
                                  in a State other than the State of which plaintiff is a citizen.


             3. The second-named defendant above is either
                             a.                                       Kansas
                                      a citizen of the State of __________________; or
                             b.       a corporation incorporated under the laws of the State of
                                 Kansas
                             ______________ and having its principal place of business in a
                             State other than the State of which plaintiff is a citizen.

             (If there are more than two defendants, set forth the foregoing information for each
             additional defendant on a separate page and attach it to this complaint.)
             Plaintiff states that the matter in controversy exceeds, exclusive of interest and
             costs, the sum of seventy-five thousand dollars ($75,000.00).


                                                 2
Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 3 of 6




       B.     (If applicable) Jurisdiction founded on grounds other than diversity
       (Check any of the following which apply to this case).


       _____ 1.        This case arises under the following section of the Constitution of
                       the United States or statute of the United States (28 U.S.C. '1331):
                       Constitution, Article_____, Section_____;
                       Statute, US Code, Title_____, Section_____.

       _____ 2.        This case arises because of violation of the civil or equal rights,
                       privileges, or immunities accorded to citizens of, or persons within
                       the jurisdiction of, the United States (28 U.S.C. '1343).

         ✔ 3.
       _____           Other grounds (specify and state any statute which gives rise to such
                       grounds):

                       Kansas Medical Malpractice Laws 60-513
                       _____________________________________________

                       Four-year statute of repose
                       _____________________________________________

                       _____________________________________________

                       _____________________________________________

III.   Statement of Claim:

(State here a short and plain statement of the claim showing that plaintiff is entitled to
relief. State what each defendant did that violated the right(s) of the plaintiff, including
dates and places of such conduct by the defendant(s). Do not set forth legal arguments.
If you intend to allege more than one claim, number and set forth each claim in a separate
paragraph. Attach an additional sheet, if necessary, to set forth a short and plain statement
of the claim[s].)

A psychiatric evaluation was performed between May and June of 2013 by
________________________________________________________________________

Acumen Assessments. The defendants made three separate diagnoses while
________________________________________________________________________

ignoring the fact that particular medications were being taken by plaintiff. An
________________________________________________________________________

inappropriate and incorrect treatment plan was developed by the defendant
________________________________________________________________________

which does not coincide with the correct diagnosis.
________________________________________________________________________

IV.    Relief:

(State briefly exactly what judgement or relief you want from the Court. Do not make
legal arguments.)

                                         3
Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 4 of 6




Three years of lost income and costs of the evaluation.
________________________________________________________________________

________________________________________________________________________

________________________________________________________________________

V.      Do you claim the wrongs alleged in your complaint are continuing to occur at the
present time? Yes [ ] No [ ]

VI.    Do you claim actual damages for the acts alleged in your complaint?
       Yes [ ]     No [ ]

VII.   Do you claim punitive monetary damages? Yes [ ]         No [ ]


If you answered yes, state the amounts claimed and the reasons you claim you are entitled
to recover money damages.

Evaluation cost: $3000 USD
________________________________________________________________________

Income at $50,000 USD per year
________________________________________________________________________

________________________________________________________________________

A medical school, SABA University, was relying on the evaluation results to
________________________________________________________________________

make a decision during medical school suspension. Plaintiff would have been
________________________________________________________________________

able to graduate and secure employment if the proper treatment was ordered.
________________________________________________________________________




                                        4
      Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 5 of 6




      VIII.    Administrative Procedures:

               A.     Have the claims which you make in this civil action been presented through
               any type of Administrative Procedure within any government agency?
               Yes [ ] No [ ]

              B.     If you answered yes, give the date your claims were presented,
              how they were presented, and the result of that procedure:

              __________________________________________________________________

              __________________________________________________________________

              __________________________________________________________________

              C.      If you answered no, give the reasons, if any, why the claims made in this
              action have not been presented through Administrative Procedures:

              __________________________________________________________________
              N/A

              __________________________________________________________________

              __________________________________________________________________

IX.   Related Litigation:

      Please mark the statement that pertains to this case:

      ______          This cause, or a substantially equivalent complaint, was previously filed in
                      this court as case number _______________ and assigned to the Honorable
                      Judge ____________________________.
        ✔
      ______          Neither this cause, nor a substantially equivalent complaint, previously has
                      been filed in this court, and therefore this case may be opened as an original
                      proceeding.

                                                     ___________________________________
                                                     Signature of Plaintiff

                                                           Samuel C. Pennella, M.D.
                                                     ___________________________________
                                                     Name (Print or Type)

                                                     615 Grove St.
                                                     ___________________________________
                                                     Address




                                                5
      Case 2:17-cv-02327-DDC-GLR Document 1 Filed 06/05/17 Page 6 of 6




                                                 Clifton     NJ         07013
                                                 ___________________________________
                                                 City       State      Zip Code

                                                            (908) 208-8926
                                                 ___________________________________
                                                 Telephone Number


                         DESIGNATION OF PLACE OF TRIAL

Plaintiff designates { [ ]Wichita, [ ]Kansas City , or [ ]Topeka} , Kansas as the
                                        (Select One)
location for the trial in this matter.

                                                 _______________________________
                                                 Signature of Plaintiff


                            REQUEST FOR TRIAL BY JURY

Plaintiff requests trial by jury { [ ]Yes or [ ]No }
                                     (Select One)


                                                 ________________________________
                                                 Signature of Plaintiff

        06/04/2017
Dated: __________
 (Rev. 10/15)




                                             6
